     Case 3:22-cv-00421-CRB Document 36-3 Filed 03/25/22 Page 1 of 16



 1   Alicia F. Wagnon (SBN #152220)
     Joseph M. Cachuela (SBN #285081)
 2   Lance M. Martin (SBN #294457)
     CALIFORNIA MEDICAL ASSOCIATION
 3
     CENTER FOR LEGAL AFFAIRS
 4   1201 K Street, Suite 800
     Sacramento, California 95814-3933
 5   Telephone: (916) 444-5532
     awagnon@cmadocs.org
 6   jcachuela@cmadocs.org
 7   lmartin@cmadocs.org

 8   Attorney for Amicus Curiae
     CALIFORNIA MEDICAL ASSOCIATION
 9

10

11                              IN THE UNITED STATES DISTRICT COURT

12                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

13                                    SAN FRANCISCO DIVISION

14   AMERICAN ACADEMY OF EMERGENCY                  Case No. 22-cv-421-CRB
     MEDICINE PHYSICIAN GROUP, INC., a
15   Wisconsin Corporation,                         [PROPOSED] AMICUS CURIAE BRIEF
16                                                  BY CALIFORNIA MEDICAL
                   Plaintiff,                       ASSOCIATION IN SUPPORT OF
17                                                  PLAINTIFF’S RESPONSE TO MOTION
            vs,                                     TO DISMISS
18
     ENVISION HEALTHCARE
19   CORPORATION; a Delaware Corporation;
20   ENVISION PHYSICIAN SERVICES LLC; a
     Delaware Limited Liability Corporation doing
21   business in California,

22                 Defendants.
23

24

25

26

27

28

                                  [PROPOSED] AMICUS CURIAE BRIEF BY CMA      NO. 22-CV-421-CRB
      Case 3:22-cv-00421-CRB Document 36-3 Filed 03/25/22 Page 2 of 16



 1                                        FRAP 29 DISCLOSURE
 2          Pursuant to Federal Rule of Appellate Procedure 29(a)(4)(E), the undersigned counsel for
 3   the California Medical Association represents that no party or party’s counsel (i) authored this
 4   amicus brief in whole or in part; (ii) contributed money that was intended to fund preparing or
 5   submitting this brief; or (iii) contributed money that was intended to fund preparing or submitting
 6   the brief, other than the amicus curiae, its members, or its counsel.
 7

 8   Dated: March 25, 2022                       CALIFORNIA MEDICAL ASSOCIATION
                                                 Center for Legal Affairs
 9

10                                               By:            /s/ Lance M. Martin

11                                                               Lance M. Martin
                                                 Attorney for Amicus Curiae
12                                               CALIFORNIA MEDICAL ASSOCIATION
13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                  [PROPOSED] AMICUS CURIAE BRIEF BY CMA               NO. 22-CV-421-CRB
      Case 3:22-cv-00421-CRB Document 36-3 Filed 03/25/22 Page 3 of 16



 1                                                                 CONTENTS
 2   INTRODUCTION ........................................................................................................................... 1
 3   INTERESTS OF THE AMICUS CURIAE ..................................................................................... 2
 4   DISCUSSION .................................................................................................................................. 2
 5        A. CPOM Traditionally Was Designed to Thwart Interference with the Practice of Medicine
             by Non-Licensed Individuals and Entities ........................................................................... 3
 6
          B. CPOM Also Prohibits Arrangements and Structures that Create Unacceptable Risks of
 7           Interference .......................................................................................................................... 6
 8   CONCLUSION .............................................................................................................................. 10
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28                                                                            i
                                              [PROPOSED] AMICUS CURIAE BRIEF BY CMA                                       NO. 22-CV-421-CRB
      Case 3:22-cv-00421-CRB Document 36-3 Filed 03/25/22 Page 4 of 16



 1                                              TABLE OF AUTHORITIES
 2                                                              CASES
 3   Benjamin Franklin Life Assurance Co. v. Mitchell
       14 Cal. App. 2d 654 (1936) ---------------------------------------------------------------------------------------------- 4
 4   Blank v. Palo-Alto-Stanford Hospital Center
 5     234 Cal. App. 2d 377 (1965) --------------------------------------------------------------------------------------------- 4
     California Association of Dispensing Opticians v. Pearle Vision Center, Inc.
 6     143 Cal. App. 3d 419 (1983) --------------------------------------------------------------------------------------------- 4

 7   California Physicians' Service v. Aoki Diabetes Research Institute
       163 Cal. App. 4th 1506 (2008) ------------------------------------------------------------------------------------------ 5
 8   Complete Service Bureau v. San Diego Medical Society
       43 Cal. 2d 201 (1954) ----------------------------------------------------------------------------------------------------- 4
 9
     Marik v. Superior Court
10     191 Cal. App. 3d 1136 (1987) ------------------------------------------------------------------------------------------- 4
     Pacific Employers Ins. Co. v. Carpenter
11
       10 Cal. App. 2d 592 (1935) ---------------------------------------------------------------------------------------------- 3
12   Painless Parker v. Board of Dental Examiners
       216 Cal. 285 (1932)-------------------------------------------------------------------------------------------------------- 7
13
     People ex rel. State Bd. of Med. Examiners v. Pacific Health Corp.
14     12 Cal. 2d 156 (1938) ----------------------------------------------------------------------------------------------------- 7
     People v. Cole
15     38 Cal. 4th 964 (2006) ---------------------------------------------------------------------------------------------------- 7
16   People v. Superior Court (Cardillo)
       218 Cal. App. 4th 492 (2013) -------------------------------------------------------------------------------------------- 4
17
                                                              STATUTES
18   Cal. Bus. and Prof. Code §2406 -------------------------------------------------------------------------------------------- 8

19   Cal. Bus. and Prof. Code §2402 -------------------------------------------------------------------------------------------- 8
     Cal. Corp. Code §13401.5 --------------------------------------------------------------------------------------------------- 8
20
     Cal. Corp. Code §13406 ------------------------------------------------------------------------------------------------------ 8
21                                       CALIFORNIA ATTORNEY GENERAL OPINIONS
22   11 Ops. Cal. Att. Gen. 236, 237 (1948) ----------------------------------------------------------------------------------- 7
     55 Ops. Cal. Atty. Gen. 103 (1972) ---------------------------------------------------------------------------------------- 8
23
     65 Ops. Cal. Atty. Gen. 223 (1982) ---------------------------------------------------------------------------------------- 8
24
     65 Ops. Cal. Atty. Gen. 223, 225 (1982)---------------------------------------------------------------------------------- 3
25   83 Ops. Cal. Atty. Gen. 170 (2000) ---------------------------------------------------------------------------------------- 5

26

27

28
                                                                    ii
                                        [PROPOSED] AMICUS CURIAE BRIEF BY CMA                             NO. 22-CV-421-CRB
      Case 3:22-cv-00421-CRB Document 36-3 Filed 03/25/22 Page 5 of 16



 1           The California Medical Association (“CMA”) hereby submits this amicus curiae brief in
 2   support of Plaintiff American Academy of Emergency Medicine Physician Group, Inc.’s
 3   (“AAEMPG”) Opposition to the Motion to Dismiss by Defendants Envision Healthcare
 4   Corporation and Envision Physician Services LLC (collectively, “Envision”). This amicus brief
 5   refers to and is based upon only public, redacted pleadings and other papers filed in this action.
 6                                            INTRODUCTION
 7           For numerous decades, CMA has served as the voice of California’s House of Medicine to
 8   advocate for the medical profession against incursions and transgressions on the ability of
 9   physicians to provide the highest levels of medical care to their patients. A bedrock doctrine in
10   such efforts is a century-old law prohibiting lay entities from practicing medicine. This law,
11   generally known as the bar on the corporate practice of medicine (“CPOM”), has abided
12   throughout many decades and has been affirmed, confirmed, and reinvigorated through scores of
13   opinions in the state courts and regulatory agencies. CPOM is squarely raised in this action. Given
14   the circumstances by which it is implicated and the misleading arguments that have been asserted
15   against it in Envision’s motion, CMA is compelled to submit this friend-of-the-court brief to help
16   ensure that there is clarity surrounding CPOM.
17           CPOM is a broad and robust law that touches on nearly every aspect of the delivery of
18   medical care by physicians and other licensed professionals. It springs from a fundamental public
19   policy to protect and preserve the independence of physicians’ professional judgment in the care
20   of their patients, free from external forces that can interfere with the physician-patient relationship.
21   There are classic cases of CPOM violations, where a lay entity employs doctors and dictates the
22   type of care that the doctors can provide, presumably as part of a cost-saving measure. AAEMPG’s
23   First Amended Complaint (“FAC”) contains allegations of such CPOM violations and on that basis
24   alone should survive a motion to dismiss.
25           The allegations here also touch on a different, burgeoning area of CPOM enforcement.
26   Because California law permits medical corporations to practice medicine only if physicians have
27   a controlling ownership interest, there are massive efforts in the industry for lay entities, such as
28                                                       1
                                   [PROPOSED] AMICUS CURIAE BRIEF BY CMA                  NO. 22-CV-421-CRB
      Case 3:22-cv-00421-CRB Document 36-3 Filed 03/25/22 Page 6 of 16



 1   Envision, to align with the physician owners of such medical corporations. Such “friendly”
 2   medical corporation arrangements are common, and in many cases can be desirable because they
 3   enable medical corporations to access and take advantage of needed capital and market resources.
 4   However, CMA is aware that in some instances the “friendly” alignment between a lay entity and
 5   a medical corporation can cross over into prohibited territory, wherein the lay entity gains undue
 6   influence or control over the medical corporation. The allegations in this case present a case and
 7   controversy on this very issue. It is imperative, therefore, that CPOM be properly and fairly applied
 8   in service of its public policy goal to protect physician independence from lay entity dominance.
 9   CMA herein offers its views and experience on these important topics.
10                              INTERESTS OF THE AMICUS CURIAE
11          CMA is a non-profit, incorporated professional physician association of approximately
12   50,000 members, most of whom practice medicine in all modes and specialties throughout
13   California. CMA’s primary purposes are “to promote the science and art of medicine, the care and
14   well-being of patients, the protection of public health, and the betterment of the medical
15   profession.” CMA and its members share the objective of promoting high quality, safe, and cost-
16   effective health care for the people of California.
17          For many decades, CMA has been the leading voice advocating for robust enforcement of
18   CPOM. CMA regularly is involved in legislation that would bolster, undercut, eliminate, or create
19   exceptions to CPOM. CMA also regularly files friend-of-the-court briefs in federal and state courts
20   on issues impacting the practice of medicine, including in cases, like this one, involving
21   interpretations and applications of CPOM. The issues raised by Envision’s motion directly bear
22   upon the interests and work of CMA on behalf of its physician members and constituents.
23                                             DISCUSSION
24          AAEMPG alleges that various policies or practices by Envision have direct and indirect
25   effects on physicians and/or the way they deliver medical care. See FAC ¶¶38-41, 45. AAEMPG
26   also alleges that Envision gains influence or control over medical corporations that deliver medical
27   care through placement of its executives in officer and director positions on those medical
28
                                                           2
                                 [PROPOSED] AMICUS CURIAE BRIEF BY CMA                NO. 22-CV-421-CRB
      Case 3:22-cv-00421-CRB Document 36-3 Filed 03/25/22 Page 7 of 16



 1   corporations, or through stock holding and transfer restrictions on the physicians that own the
 2   corporations. See FAC ¶¶30-33, 36. Both sets of allegations implicate CPOM, albeit different
 3   branches of the doctrine.
 4   A.     CPOM Traditionally Was Designed to Thwart Interference with the Practice of
 5          Medicine by Non-Licensed Individuals and Entities.

 6          California’s Medical Practice Act and Business and Professions Code sections 2052 and

 7   2400 prohibit any person from practicing medicine without a license. Together, they establish that

 8   corporations and other artificial legal entities may not hold professional rights, privileges, or

 9   powers (i.e., hold medical licenses). These statutes form the foundation of CPOM, which broadly

10   prohibits corporations and other lay entities from directly or indirectly practicing or controlling the

11   practice of medicine, whether through influence, control, or direct intervention.

12          The California Attorney General has explained the rationale behind CPOM as a public

13   policy of preserving the purity of physician professional judgment:

14          [F]irst, that the presence of a corporate entity is incongruous in the workings of a
            professional regulatory licensing scheme which is based on personal qualification,
15          responsibility and sanction, and second that the interposition of a lay commercial
            entity between the professional and his/her patients would give rise to divided
16          loyalties on the part of the professional and would destroy the professional
            relationship into which it was cast.
17

18   65 Ops. Cal. Atty. Gen. 223, 225 (1982). CPOM thus ensures that those who make decisions which
19   affect, generally or indirectly, the provision of medical services: 1) understand the quality of care
20   implications of those decisions; 2) have a professional ethical obligation to place the patient’s
21   interest foremost; and 3) are subject to the full panoply of the enforcement powers of the Medical
22   Board of California, the state agency charged with the administration of the Medical Practice Act.
23          CPOM today is recognized to be robust and broad, touching upon virtually all aspects of
24   the modern practice of medicine to prohibit practices, schemes, and arrangements that directly or
25   indirectly affect how physicians care for their patients. The case law is legion. See, e.g., Pacific
26   Employers Ins. Co. v. Carpenter, 10 Cal. App. 2d 592, 594-596 (1935) (holding that for-profit
27   corporation may not engage in business of providing medical services and stating that “professions
28
                                                         3
                                 [PROPOSED] AMICUS CURIAE BRIEF BY CMA                  NO. 22-CV-421-CRB
      Case 3:22-cv-00421-CRB Document 36-3 Filed 03/25/22 Page 8 of 16



 1   are not open to commercial exploitation as it is said to be against public policy to permit a ‘middle-
 2   man’ to intervene for a profit in establishing a professional relationship between members of said
 3   professions and the members of the public”); Benjamin Franklin Life Assurance Co. v. Mitchell,
 4   14 Cal. App. 2d 654, 657 (1936) (same); Complete Service Bureau v. San Diego Medical Society,
 5   43 Cal. 2d 201, 211 (1954) (non-profit corporations may secure low-cost medical services for their
 6   members only if they do not interfere with the medical practice of the associated physician); Blank
 7   v. Palo-Alto-Stanford Hospital Center, 234 Cal. App. 2d 377, 390 (1965) (non-profit hospital may
 8   employ radiologists only if the hospital does not interfere with the radiologists’ practice of
 9   medicine); California Association of Dispensing Opticians v. Pearle Vision Center, Inc., 143 Cal.
10   App. 3d 419, 434 (1983) (CPOM prohibits technical agreements affecting the manner in which
11   professionals practice because it “requires the professional’s undivided responsibility and freedom
12   from commercial exploitation”).
13          As modern medicine advances and becomes more commercialized, CPOM has also
14   evolved to recognize that seeming “business decisions” in a medical practice setting can result in
15   undue influence over the practice of medicine. In Marik v. Superior Court, 191 Cal. App. 3d 1136
16   (1987), for example, the court recognized that it is difficult if not impossible to isolate “purely
17   business” decisions from those affecting the quality of care. Notably, in holding that a provisional
18   director of a medical corporation was required either to be a physician or other qualified licensed
19   person, the Marik court recognized the interrelated nature of these concerns and observed:
20          For example, the prospective purchase of a piece of radiological equipment could
21          be implicated by business considerations (cost, gross billings to be generated, space
            and employee needs), medical considerations (type of equipment needed, scope of
22          practice, skill levels required by operators of the equipment, medical ethics) or by
            an amalgam of factors emanating from both business and medical areas. The
23          interfacing of these variables may also require medical training, experience, and
            judgment.
24

25   Id. at 1140 n.4. Along the same line, in People v. Superior Court (Cardillo), 218 Cal. App. 4th
26   492 (2013), lay owners and operators of medical marijuana clinics were held to criminally violate
27   CPOM where they controlled the operations of the clinics by employing licensed physicians to
28
                                                        4
                                 [PROPOSED] AMICUS CURIAE BRIEF BY CMA                 NO. 22-CV-421-CRB
      Case 3:22-cv-00421-CRB Document 36-3 Filed 03/25/22 Page 9 of 16



 1   issue recommendations for medical marijuana, setting the physicians’ hours, soliciting and
 2   scheduling patients, collecting fees from the patients, and paying the physicians a percentage of
 3   those fees. Id. at 498.
 4            The Medical Board of California has issued formal guidance on what constitutes violations
 5   of       CPOM.      See      https://www.mbc.ca.gov/Licensing/Physicians-and-Surgeons/Practice-
 6   Information/. The board believes that certain areas in the business of medicine are rife for CPOM
 7   abuse:
              •   Ownership is an indicator of control of a patient’s medical records, including
 8
                  determining the contents thereof, and should be retained by a California-
 9                licensed physician;

10            •   Selection, hiring/firing (as it relates to clinical competency or proficiency) of
                  physicians, allied health staff and medical assistants;
11
              •   Setting the parameters under which the physician will enter into contractual
12                relationships with third-party payors;
13            •   Decisions regarding coding and billing procedures for patient care services; and
14
              •   Approving of the selection of medical equipment and medical supplies for the
15                medical practice.

16   Id. The Medical Board further explains that the types of decisions and activities described above
17   cannot be delegated to an unlicensed person, including management service organizations. While
18   a physician may consult with unlicensed persons in making the “business” or “management”
19   decisions described above, the physician must retain the ultimate responsibility for, or approval
20   of, those decisions. Id.
21            The California Attorney General has echoed the Medical Board’s view. See, e.g., 83 Ops.
22   Cal. Atty. Gen. 170 (2000) (“The selection of a radiology site with appropriate equipment and
23   operational personnel best suited for the performance of a diagnostic radiology study of a patient’s
24   particular physical disorder, as well as the selection of a qualified radiologist to view and interpret
25   the films, would involve the exercise of professional judgment and evaluation as part of the
26   practice of medicine.”); see also California Physicians' Service v. Aoki Diabetes Research
27   Institute, 163 Cal. App. 4th 1506, 1516 (2008) (“While the principal evils of the corporate practice
28
                                                         5
                                  [PROPOSED] AMICUS CURIAE BRIEF BY CMA                 NO. 22-CV-421-CRB
     Case 3:22-cv-00421-CRB Document 36-3 Filed 03/25/22 Page 10 of 16



 1   of medicine may arise from the stress the profit motive places on physicians, the courts have also
 2   noted the danger of lay control—a danger that attends all types of corporations”).
 3          A significant portion of the allegations in this action fall within CPOM’s proscription
 4   against activities and practices affecting a physician’s professional judgment. Indeed, there are
 5   allegations in the First Amended Complaint that, if proven, demonstrate classic CPOM violations:
 6          •   Plaintiff is informed and believes Envision further ensures corporate control of
                these professional controlled affiliate groups by requiring the physician
 7              members or owners to execute agreements limiting their authority. Such
                separate agreements include restrictions on the ability of the named physician
 8              owner and or members to issue dividends, create additional stock, sell the
                medical group, or transfer their shares (FAC ¶36);
 9
            •   Envision exercises profound and pervasive direct and indirect control and/or
10              influence over the medical practice, making decisions which bear directly and
                indirectly on the practice of medicine, rendering physicians as mere employees,
11              and diminishing physician independence and freedom from commercial
                interests, in violation of California’s corporate practice of medicine ban (FAC
12              ¶38);

13          •   Envision collects physicians' fees, but does not report how much they collected in
                the physicians' names or the group's names. Physicians are not allowed to know
14              what is billed in their name or the Groups' name because, in part, they would know
                how much profit Envision is making from their professional services (FAC ¶41);
15              and

16          •   Envision further establishes and promulgates physician “best practices,” “red
                rules,” and “evidence-based pathways” protocols which create standards for
17              treating patients and are used to compare the performance of physician to
                Envision-created or endorsed standards, a form of clinical oversight. It creates
18              “benchmarking” reports that compare physician performance to Envision-
                created standards, intending to modify the exercise of their independent medical
19              judgment. Envision tracks physician performance and then provides “practice
                improvement feedback” in the form of reports designed to educate physicians
20              to practice medicine (FAC ¶45);

21          AAEMPG should be given the opportunity to try to prove up these allegations. Their
22   complaint adequately states claims of CPOM violations.
23   B.     CPOM Also Prohibits Arrangements and Structures that Create Unacceptable Risks
            of Interference.
24

25          There is another strain inherent in CPOM that has garnered more attention as the practice

26   of medicine became more modernized and commercialized. This strain focuses not on whether

27   there is interference with the practice of medicine but on the conditions in which physicians

28
                                                       6
                                [PROPOSED] AMICUS CURIAE BRIEF BY CMA                 NO. 22-CV-421-CRB
     Case 3:22-cv-00421-CRB Document 36-3 Filed 03/25/22 Page 11 of 16



 1   practice, such as the employment relationship.
 2             The California Supreme Court in People v. Cole (2006) 38 Cal. 4th 964, 970 (2006),
 3   declared that CPOM “restricts the relationships that [doctors] may have with corporations.”
 4   (emphasis added) A decision 68 years earlier laid the foundation for this observation. In People ex
 5   rel. State Bd. of Med. Examiners v. Pacific Health Corp., 12 Cal. 2d 156 (1938), a lay entity
 6   claimed that its contractual arrangements with physicians explicitly took special care to preserve
 7   the physicians’ independent judgment by providing that services shall be performed at the
 8   physicians’ offices and that the doctors are not employed by defendant on a salary basis, nor
 9   directed by the lay entity. Id. at 158. According to the lay entity, the fact that there was no actual
10   interference or control over the practice of medicine absolved it of any CPOM transgressions. Id.
11   Not so: the Court explained that CPOM cannot be “circumvented by technical distinctions in the
12   manner in which the doctors are engaged, designated or compensated by the corporation.” Id.
13   CPOM can prohibit a particular structure or relationship between a physician and lay entities, even
14   without actual interference in the practice of medicine, where “[t]he evils of divided loyalty and
15   impaired confidence would seem to be equally present.” Id. at 159. The Court had already reached
16   the same conclusion in a different case to apply CPOM to prohibit the mere ownership of dentist
17   practices by lay entities. See Painless Parker v. Board of Dental Examiners, 216 Cal. 285, 296
18   (1932).
19             Applying the holdings of Pacific Health and Painless Parker, the California Attorney
20   General confirmed that CPOM prohibits not only lay entities engaging in or interfering with the
21   practice of medicine but also hospitals and other lay entities from employing or contracting with
22   physicians. See 11 Ops. Cal. Att. Gen. 236, 237 (1948). In so finding, the Attorney General
23   observed several courts have rejected the notion that a CPOM violation depends on actual
24   interference with the practice of medicine. See id. at 238-39. Rather, CPOM categorically prohibits
25   certain relationships and business structures joining physicians and lay entities where there is “a
26   tendency to debase the profession,” or where there is potential that a lay entity would be able to
27   directly or indirectly influence or control physicians. Id. at 239.
28
                                                         7
                                 [PROPOSED] AMICUS CURIAE BRIEF BY CMA                 NO. 22-CV-421-CRB
     Case 3:22-cv-00421-CRB Document 36-3 Filed 03/25/22 Page 12 of 16



 1           Employment relationship is a prototypical example of a prohibited relationship whereby a
 2   lay entity gains undue influence over physicians. The Attorney General has issued several other
 3   opinions reaffirming this prophylactic approach to enforcement of CPOM and found numerous
 4   types of relationships to be prohibited based on the potential interference with the practice of
 5   medicine created by such relationships and the presence of a potential for the physician to have
 6   divided loyalties. See 54 Ops. Cal. Atty. Gen. 126 (1971) (nonprofit hospital may not employ
 7   physicians to provide professional services); 55 Ops. Cal. Atty. Gen. 103 (1972) (CPOM prohibits
 8   lay entities from having an economic interest in the net profits of a medical practice); 65 Ops. Cal.
 9   Atty. Gen. 223 (1982) (general business corporation may not lawfully engage licensed physicians
10   to treat employees even though physicians act as independent contractors and not as employees).
11           Although not yet addressed in any precedential decision, CMA is concerned that certain
12   arrangements concerning the manner by which physicians hold ownership over medical
13   corporations may run afoul of CPOM. It has become common in the industry for physicians who
14   own medical corporations (which are permitted to employ physicians to deliver medicine) to align
15   with lay entities. Such alignments can be informal or formal; the physician owner may also be an
16   officer or director of the lay corporation or the physician owner may enter into a stock transfer
17   restriction agreement with the lay entity. Physicians may enter into such alignments to access
18   resources, funding, or other commercial advantages that they otherwise do not possess. However,
19   depending on the details of the alignment, CMA believes a line can be crossed giving undue
20   influence or control to the lay entity.
21           CMA is particularly concerned about stock transfer restriction agreements whereby a
22   physician owner cedes authority to a lay entity over the manner by which the physician can hold
23   or transfer ownership of the medical corporation. California Business and Professions Code
24   sections 2402 and 2406 permit medical practice by “medical corporations” operating under the
25   Moscone-Knox Professional Corporation Act (“Moscone-Knox”). The Corporations Code
26   establishes numerous strict requirements for the creation and operation of such medical
27   professional corporations. Chief among these requirements is that the medical corporation’s
28
                                                        8
                                 [PROPOSED] AMICUS CURIAE BRIEF BY CMA                NO. 22-CV-421-CRB
     Case 3:22-cv-00421-CRB Document 36-3 Filed 03/25/22 Page 13 of 16



 1   shareholders must be licensed professionals. See Cal. Corp. Code §13406. Other requirements
 2   restrict who may own a medical corporation and prohibit physician owners from entering into
 3   voting trusts or proxies. See id. at §§13401.5, 13406(a). It is only by strict compliance with the
 4   Moscone-Knox Act that a medical professional corporation is permitted to practice medicine (i.e.,
 5   hire doctors and arrange for medical care). See Cal. Bus. & Prof. Code §§2402 and 2406.
 6   Accordingly, any design or arrangement limiting the ownership rights of physician owners in
 7   medical corporations could potentially enable a lay entity to do what is otherwise legally restricted
 8   to and reserved only for licensed physicians. CMA believes that true and unfettered ownership of
 9   a medical corporation is required by CPOM.
10           It is questionable whether CPOM is satisfied if a lay entity has contractual rights dictating
11   when, how, and to whom a physician can transfer stock of a medical corporation. CMA also has
12   seen, and is concerned about, stock transfer restriction agreements that give lay entities unilateral
13   authority to force the transfer of the medical corporation’s ownership.
14           There are allegations in this action that implicate problematic, if not unlawful,
15   arrangements between a lay entity and a “friendly” medical corporation owner. For instance, the
16   complaint alleges very close alignment between Envision employees/executives and the
17   directors/officers of medical corporations. See FAC ¶¶30-33. There also are allegations suggesting
18   too much control over a medical corporation’s stock ownership. See id. ¶36 (“Plaintiff is informed
19   and believes Envision further ensures corporate control of these professional controlled affiliate
20   groups by requiring the physician members or owners to execute agreements limiting their
21   authority. Such separate agreements include restrictions on the ability of the named physician
22   owner and or members to issue dividends, create additional stock, sell the medical group, or
23   transfer their shares”).
24           Based on the public, unredacted pleadings and documents available, CMA cannot
25   determine, and therefore takes no position, whether Envision has taken advantage of any artifices
26   or arrangements with medical corporation owners in violation of CPOM. However, the allegations
27   do appear to raise serious issues concerning alignments between Envision and medical corporation
28
                                                        9
                                 [PROPOSED] AMICUS CURIAE BRIEF BY CMA                NO. 22-CV-421-CRB
     Case 3:22-cv-00421-CRB Document 36-3 Filed 03/25/22 Page 14 of 16



 1   owners that may violate CPOM.
 2                                       CONCLUSION
 3         CMA respectfully urges the Court to deny Envision’s Motion to Dismiss and permit
 4   AAEMPG’s claims based on CPOM to proceed in this action.
 5

 6                                         Respectfully submitted,

 7   Dated: March 25, 2022                 CALIFORNIA MEDICAL ASSOCIATION
                                           Center for Legal Affairs
 8

 9                                         By:           /s/ Lance M. Martin

10                                                         Lance M. Martin
                                           Attorney for Amicus Curiae
11                                         CALIFORNIA MEDICAL ASSOCIATION
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                 10
                             [PROPOSED] AMICUS CURIAE BRIEF BY CMA             NO. 22-CV-421-CRB
     Case 3:22-cv-00421-CRB Document 36-3 Filed 03/25/22 Page 15 of 16



 1                              CERTIFICATION OF WORD COUNT
 2          The text of this brief consists of 3,284 words as counted by the Microsoft Word word-
 3   processing computer application used to generate the brief.
 4
     Dated: March 25, 2022
 5
                                                        /s/ Lance M. Martin
 6
                                                               Lance M. Martin
 7                                             Attorney for Amicus Curiae
                                               CALIFORNIA MEDICAL ASSOCIATION
 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                             CMA AMICUS CURIAE BRIEF                            NO. 22-CV-421-CRB
     Case 3:22-cv-00421-CRB Document 36-3 Filed 03/25/22 Page 16 of 16



 1                                    CERTIFICATE OF SERVICE
 2          I hereby certify that I electronically filed the foregoing with the Clerk of the Court for the
 3   United States District Court for the Northern District of California by using the CM/ECF system
 4   on March 25, 2022. I further certify that all participants in the case are registered CM/ECF users,
 5   and that service will be accomplished by the CM/ECF system.
 6          I certify under penalty of perjury that the foregoing is true and correct.
 7   Executed this 25th day of March, 2022.
 8
                                                                /s/ Lance M. Martin
 9                                                                  Lance M. Martin

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                        2
                                [PROPOSED] AMICUS CURIAE BRIEF BY CMA                    NO. 22-CV-421-CRB
